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                              UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO DIVISION


RICHARD KADREY, et al.,                           Case No. 3:23-cv-03417-VC

       Individual and Representative Plaintiff,
                                                  JOINT MOTION FOR ENTRY OF
       v.                                         PROPOSED STIPULATED ORDER RE:
                                                  DISCOVERY OF ELECTRONICALLY
                                                  STORED INFORMATION
META PLATFORMS, INC.,

                                    Defendant.




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       Plaintiffs Richard Kadrey, Sarah Silverman, Christopher Golden, Michael Chabon, Ta-

Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang, Matthew Klam, Laura

Lippman, Rachel Louise Snyder, Ayelet Waldman, Jacqueline Woodson, and the proposed class

(collectively, “Plaintiffs”) and Defendant Meta Platforms, Inc. (“Meta” or “Defendant”)

(collectively, the “Parties”) have negotiated the terms of a [Proposed] Stipulated Order Re:

Discovery of Electronically Stored Information, attached as Exhibit A, memorialized by the

signatures on page 17 (“Proposed Order”). In light of this agreed-upon protocol, the Parties

respectfully request that the Court enter the Proposed Order.


 Dated: April 9, 2024                     JOSEPH SAVERI LAW FIRM, LLP

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                                                          Joseph R. Saveri

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Dated: April 9, 2024              CAFFERTY CLOBES MERIWETHER &
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Dated: April 9, 2024              COOLEY LLP

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                                SIGNATURE ATTESTATION

       As the ECF user whose user ID and password are utilized in the filing of this document, I

attest under penalty of perjury that concurrence in the filing of the document has been obtained

from each of the other signatories.



Dated: April 9, 2024                              By:          /s/ Joseph R. Saveri
                                                                  Joseph R. Saveri




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